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           EXHIBIT 4
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 

                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                        SAN JOSE DIVISION



 APPLE INC., a California corporation,

                 Plaintiff,
                                                      CASE NO. 12-CV-00630-LHK
          v.
                                                      RESPONSES AND OBJECTIONS OF
 SAMSUNG ELECTRONICS CO., LTD., a                   NON-PARTY GOOGLE INC. TO
   Korean corporation; SAMSUNG                        SUBPOENA TO PRODUCE
 ELECTRONICS AMERICA, INC., a New                   DOCUMENTS, INFORMATION OR
   York corporation, and SAMSUNG                      OBJECTS FROM PLAINTIFF APPLE
 TELECOMMUNICATIONS AMERICA,                        INC.
   LLC, a Delaware limited liability company,

                 Defendants.




          Non-party Google Inc. (“Google”) responds and objects to the Subpoena to Produce
 Documents, Information or Objects (“Subpoena”) served on Google by Plaintiff Apple Inc.

 (“Apple”) on April 5, 2012, and the Document Requests set forth within as follows.

                                     GENERAL OBJECTIONS
          1.     Google objects to the Subpoena’s purported production date of April 16, 2012,
 which does not provide sufficient time for Google to collect and produce documents. Google

 further objects to the Subpoena on the grounds that it purports to seek discovery regarding Apple’s

 pending motion for a preliminary injunction, but was served too late for Google to produce

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 1 documents to be considered in resolving that motion. Subject to its general and specific

 2 objections, Google will produce documents and information in response to Request No. 2 below

 3 as soon as practicable, and documents in response to any other requests during normal Rule 26

 4 discovery.

 5          2.      Google objects to the Subpoena as unduly burdensome and harassing to the extent

 6 it purports to impose burdens, requirements or obligations that exceed or differ from those

 7 permitted by the Federal Rules of Civil Procedure and the Local Rules of the Northern District of

 8 California.

 9          3.      Google objects to the Subpoena to the extent it calls for legal conclusions.

10          4.      Google objects to the Subpoena to the extent it seeks information protected from

11 disclosure by the attorney-client privilege, the attorney work product doctrine, the joint defense

12 privilege or any other applicable privileges and protections. Google will not provide any

13 privileged information in response to the Subpoena. Any inadvertent disclosure of privileged

14 information shall not constitute a waiver of any privilege, right, or ground for objecting to

15 providing such information and shall not waive Google’s right to object to the use of such

16 information.

17          5.      Google objects to the Subpoena to the extent it calls for the disclosure of

18 proprietary or other confidential information. Google will only provide such disclosure subject to
19 and in reliance upon an appropriate protective order governing confidential business information.

20          6.      Google objects to the Subpoena to the extent it calls for the disclosure of

21 proprietary or confidential source code. Google will only provide such disclosure subject to and

22 in reliance upon an appropriate protective order governing confidential source code.

23          7.      Google objects to the Subpoena to the extent it is vague, ambiguous, overbroad,

24 unduly burdensome, oppressive, incomprehensible, harassing, improperly duplicative or

25 cumulative of other discovery, particularly insofar as it contains the terms “any” and “all.”

26          8.      Google objects to the Subpoena to the extent that the “Definitions” and

27 “Instructions” purport to enlarge, expand, or alter in any way the plain meaning and scope of any

28 specific Requests where such enlargement, expansion, or alteration renders said Requests vague,

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 1 ambiguous, overbroad, unduly burdensome, harassing, incomprehensible, or calling for

 2 information that is neither relevant nor reasonably calculated to lead to the discovery of admissible

 3 evidence.

 4          9.      Google objects to the Subpoena to the extent it seeks information not within

 5 Google’s possession, custody or control. An objection on this ground does not constitute a

 6 representation or admission that such information does, in fact, exist.

 7          10.     Google objects to Apple’s definition of the terms “You,” “Your,” and “Google

 8 Inc.” and to any Requests incorporating those terms, as overbroad, unduly burdensome, vague and

 9 ambiguous, and as calling for information that is neither relevant nor reasonably calculated to lead

10 to the discovery of admissible evidence.

11          11.     Google objects to Apple’s definition of the term “Samsung” on the grounds that it

12 is unduly broad and purports to impose burdens or requirements upon Google that exceed or differ

13 from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the Northern

14 District of California, particularly insofar as the definition purports to require the production of

15 documents about products irrelevant to this action.

16          12.     Google objects to Apple’s definition of the term “Android 4.0 Ice Cream

17 Sandwich” on the grounds that it is unduly broad and purports to impose burdens or requirements

18 upon Google that exceed or differ from the requirements of the Federal Rules of Civil Procedure
19 and the Local Rules of the Northern District of California, particularly insofar as the definition

20 purports to require the production of documents about products irrelevant to this action.

21          13.     Google objects to Apple’s definition of the term “Android” on the grounds that it is

22 unduly broad and purports to impose burdens or requirements upon Google that exceed or differ

23 from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the Northern

24 District of California, particularly insofar as the definition purports to require the production of

25 documents about products irrelevant to this action.

26          14.     Google objects to Apple’s definition of the term “Samsung Galaxy Nexus” on the

27 grounds that it is unduly broad and purports to impose burdens or requirements upon Google that

28 exceed or differ from the requirements of the Federal Rules of Civil Procedure and the Local

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 1 Rules of the Northern District of California, particularly insofar as the definition purports to

 2 require the production of documents about products irrelevant to this action.

 3          15.     Google objects to Apple’s definition of the term “Apple” on the grounds that it is

 4 unduly broad and purports to impose burdens or requirements upon Google that exceed or differ

 5 from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the Northern

 6 District of California, particularly insofar as the definition purports to require the production of

 7 documents about products irrelevant to this action.

 8          16.     Google objects to Apple’s definition of the term “Slide to Unlock” on the grounds

 9 that it is unduly broad and purports to impose burdens or requirements upon Google that exceed or

10 differ from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the

11 Northern District of California, particularly insofar as the definition purports to require the

12 production of documents about products irrelevant to this action.

13          17.     Google objects to Apple’s definition of the term “Text Correction” on the grounds

14 that it is unduly broad and purports to impose burdens or requirements upon Google that exceed or

15 differ from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the

16 Northern District of California, particularly insofar as the definition purports to require the

17 production of documents about products irrelevant to this action.

18          18.     Google objects to Apple’s definition of the term “Unified Search” on the grounds
19 that it is unduly broad and purports to impose burdens or requirements upon Google that exceed or

20 differ from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the

21 Northern District of California, particularly insofar as the definition purports to require the

22 production of documents about products irrelevant to this action.

23          19.     Google objects to Apple’s definition of the term “Special Text Detection” on the

24 grounds that it is unduly broad and purports to impose burdens or requirements upon Google that

25 exceed or differ from the requirements of the Federal Rules of Civil Procedure and the Local

26 Rules of the Northern District of California, particularly insofar as the definition purports to

27 require the production of documents about products irrelevant to this action.

28

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 1          20.     Google objects to Apple’s definition of the term “Document(s)” on the grounds that

 2 it is unduly broad and purports to impose burdens or requirements upon Google that exceed or

 3 differ from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the

 4 Northern District of California, particularly insofar as the definition purports to require the

 5 production of documents about products irrelevant to this action.

 6          21.     Google objects to Apple’s definition of the term “Relating” on the grounds that it is

 7 unduly broad and purports to impose burdens or requirements upon Google that exceed or differ

 8 from the requirements of the Federal Rules of Civil Procedure and the Local Rules of the Northern

 9 District of California, particularly insofar as the definition purports to require the production of

10 documents about products irrelevant to this action.

11          22.     Google objects to the Subpoena as unduly burdensome, overbroad and oppressive

12 to the extent that it calls for the production of documents that would require Google to perform a

13 technical analysis of the Android software.

14          23.     Google objects to the Subpoena as unduly burdensome, overbroad, oppressive and

15 calling for the production of documents that are not in Google’s possession, custody or control to

16 the extent that it calls for documents concerning modifications to source code made by Samsung.

17          24.     Google objects to the Subpoena as unduly burdensome, overbroad, oppressive and

18 calling for the production of documents that are not in Google’s possession, custody or control to
19 the extent that it calls for documents concerning the operation of Samsung’s accused products.

20          25.     Any objection by Google does not constitute a representation or admission that

21 such information does in fact exist or is known to Google.

22          26.     Google’s production of documents is based upon such information as is reasonably

23 available to Google at the time of production. Further independent discovery, independent

24 investigation, legal research and analysis by Google or its counsel may supply additional facts,

25 information or documents, or add meaning to known facts, information or documents. Google’s

26 productions are given without prejudice to Google’s right to provide evidence of or testimony

27 regarding any subsequently discovered or compiled facts, information or documents, or to

28 supplement or modify such Google productions.

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 1          27.      Google objects to Apple’s Requests to the extent that they seek information

 2 confidential or proprietary to third parties, which Google is contractually required to maintain

 3 confidential. To the extent that the Requests call for such information, Google will produce this

 4 information, to the extent relevant and responsive, only in accordance with its obligations under

 5 these confidentiality agreements or if ordered by the Court.

 6          28.      Google objects to Apple’s Requests to the extent that they are improperly

 7 duplicative or cumulative of other discovery.

 8          29.      Google objects to Apple’s Requests to the extent that they seek discovery more

 9 appropriately obtained from Samsung.

10          30.      Google objects to Apple’s Requests to the extent that they seek information already

11 in Apple’s possession or available to Apple from some other source that is more convenient, less

12 burdensome or less expensive, including information available to Apple from Samsung or from

13 public sources.

14          31.      Google objects to Apple’s Requests to the extent that they seek information that is

15 equally available from a party in the litigation.

16          32.      Google objects to Apple’s Requests to the extent that they impose an undue burden

17 and demand that Google, a non-party, produce documents at its own expense.

18          SPECIFIC RESPONSES AND OBJECTIONS TO DOCUMENT REQUESTS
19 DOCUMENT REQUEST NO. 1:

20          A copy of the Android mobile platform, in source code form, provided to Samsung for use

21 in the Samsung Galaxy Nexus.

22 RESPONSE TO DOCUMENT REQUEST NO. 1:

23          Google incorporates by reference its General Objections as though fully set forth herein.

24 Google further objects to this Request on the grounds that the term “Android mobile platform” is

25 vague and ambiguous. Google further objects to this Request on the grounds that the term

26 “provided to Samsung for use in the Samsung Galaxy Nexus” is vague and ambiguous. Google

27 further objects to this Request on the grounds that it seeks information that is neither relevant to

28 any claims or defenses in this litigation nor reasonably calculated to lead to the discovery of

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 1 admissible evidence. Google further objects to this Request on the grounds that, to any extent it is

 2 not objectionable, it is entirely duplicative of Request No. 2.

 3 DOCUMENT REQUEST NO. 2:

 4          A copy of the Android mobile platform, in source code form, used by Samsung in the

 5 Samsung Galaxy Nexus.

 6 RESPONSE TO DOCUMENT REQUEST NO. 2:

 7          Google incorporates by reference its General Objections as though fully set forth herein.

 8 Google further objects to this Request on the grounds that the term “Android mobile platform” is

 9 vague and ambiguous. Google further objects to this Request on the grounds that the term “used

10 by Samsung in the Samsung Galaxy Nexus” is vague and ambiguous. Google further objects to

11 this Request on the grounds that it seeks information that is neither relevant to any claims or

12 defenses in this litigation nor reasonably calculated to lead to the discovery of admissible

13 evidence. Google further objects to this Request on the grounds that it is duplicative of Request

14 No. 1.

15          Subject to and without waiving its general and specific objections, Google will produce the

16 up-to-date source code concerning the accused functionality compiled into the binary images used

17 on Galaxy Nexus phones sold in the United States.

18 DOCUMENT REQUEST NO. 3:
19          Documents sufficient to show any and all differences between the Android mobile

20 platform source code in response to Request No. 1 and the Android 4.0 Ice Cream Sandwich code

21 publicly available from https://android.googlesource.com/platform/manifest, or through the

22 process described at http://source.android.com/source/downloading.html.

23 RESPONSE TO DOCUMENT REQUEST NO. 3:

24          Google incorporates by reference its General Objections as though fully set forth herein.

25 Google further objects to this Request on the grounds that the term “any and all differences” is

26 vague and ambiguous. Google further objects to this Request on the grounds that the term

27 “Android 4.0 Ice Cream Sandwich code publicly available from

28 https://android.googlesource.com/platform/manifest, or through the process described at

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 1 http://source.android.com/source/downloading.html” is vague and ambiguous. Google further

 2 objects to this Request on the grounds that it seeks information that is neither relevant to any

 3 claims or defenses in this litigation nor reasonably calculated to lead to the discovery of

 4 admissible evidence. Google further objects to this Request on the grounds that it is overly broad,

 5 unduly burdensome, oppressive, and duplicative. Google further objects to this Request on the

 6 grounds that it seeks information not within Google’s possession, custody or control. Google

 7 further objects to this Request on the grounds that it seeks information already in Apple’s

 8 possession or available to Apple from some other source that is more convenient, less burdensome

 9 or less expensive, including information available to Apple from Samsung or from public sources.

10 DOCUMENT REQUEST NO. 4:

11          All documents that comprise, refer, or relate to communications between you and Samsung

12 relating to Android, including but not limited to the version of the Android mobile platform as

13 used in the Samsung Galaxy Nexus.

14 RESPONSE TO DOCUMENT REQUEST NO. 4:

15          Google incorporates by reference its General Objections as though fully set forth herein.

16 Google further objects to this Topic on the grounds that the term “Android mobile platform as

17 used in the Samsung Galaxy Nexus” is vague and ambiguous. Google further objects to this

18 Request on the grounds that it seeks information that is neither relevant to any claims or defenses
19 in this litigation nor reasonably calculated to lead to the discovery of admissible evidence. Google

20 further objects to this Request on the grounds that it is overly broad, unduly burdensome,

21 oppressive, and duplicative. Google further objects to this Request on the grounds that it seeks

22 information not within Google’s possession, custody or control. Google further objects to this

23 Request on the grounds that it seeks information protected from disclosure by the attorney-client

24 privilege, the attorney work product doctrine, or any other applicable privilege or immunity,

25 including but not limited to the common interest or joint defense privileges. Google further

26 objects to this Request on the grounds that it calls for legal conclusions. Google further objects to

27 this Request on the grounds that it seeks information already in Apple’s possession or available to

28

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 1 Apple from some other source that is more convenient, less burdensome or less expensive,

 2 including information available to Apple from Samsung or from public sources.

 3          Subject to and without waiving its general and specific objections, Google is available to

 4 meet and confer with Apple regarding an appropriate scope of production in response to this

 5 Request.

 6 DOCUMENT REQUEST NO. 5:

 7          All documents that comprise, refer, or relate to communications between you and Samsung

 8 relating to Apple, including but not limited to communications relating to Apple’s products

 9 incorporating any version of the iOS operating system.

10 RESPONSE TO DOCUMENT REQUEST NO. 5:

11          Google incorporates by reference its General Objections as though fully set forth herein.

12 Google further objects to this Request on the grounds that it seeks information that is neither

13 relevant to any claims or defenses in this litigation nor reasonably calculated to lead to the

14 discovery of admissible evidence. Google further objects to this Request on the grounds that it is

15 overly broad, unduly burdensome, oppressive, and duplicative. Google further objects to this

16 Request on the grounds that it seeks information not within Google’s possession, custody or

17 control. Google further objects to this Request on the grounds that it seeks information protected

18 from disclosure by the attorney-client privilege, the attorney work product doctrine, or any other
19 applicable privilege or immunity, including but not limited to the common interest or joint defense

20 privileges. Google further objects to this Request on the grounds that it calls for legal conclusions.

21 Google further objects to this Request on the grounds that it seeks information already in Apple’s

22 possession or available to Apple from some other source that is more convenient, less burdensome

23 or less expensive, including information available to Apple from Samsung or from public sources.

24 DOCUMENT REQUEST NO. 6:

25          All documents that comprise, refer, or relate to communications between you and Samsung

26 relating to Slide to Unlock, Text Correction, Unified Search, and/or Special Text Detection

27 software, features, or functionality, including but not limited to any version of any such software,

28 features, or functionality used in the Samsung Galaxy Nexus or in any version of Android.

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 1 RESPONSE TO DOCUMENT REQUEST NO. 6:

 2          Google incorporates by reference its General Objections as though fully set forth herein.

 3 Google further objects to this Request on the grounds that the term “Slide to Unlock, Text

 4 Correction, Unified Search, and/or Special Text Detection software, features, or functionality” is

 5 vague and ambiguous. Google further objects to this Topic on the grounds that the term “used in

 6 the Samsung Galaxy Nexus” is vague and ambiguous. Google further objects to this Request on

 7 the grounds that it seeks information that is neither relevant to any claims or defenses in this

 8 litigation nor reasonably calculated to lead to the discovery of admissible evidence. Google

 9 further objects to this Request on the grounds that it is overly broad, unduly burdensome,

10 oppressive, and duplicative. Google further objects to this Request on the grounds that it seeks

11 information not within Google’s possession, custody or control. Google further objects to this

12 Request on the grounds that it seeks information protected from disclosure by the attorney-client

13 privilege, the attorney work product doctrine, or any other applicable privilege or immunity,

14 including but not limited to the common interest or joint defense privileges. Google further

15 objects to this Request on the grounds that it calls for legal conclusions. Google further objects to

16 this Request on the grounds that it seeks information already in Apple’s possession or available to

17 Apple from some other source that is more convenient, less burdensome or less expensive,

18 including information available to Apple from Samsung or from public sources.
19          Subject to and without waiving its general and specific objections, Google will produce

20 documents responsive to this Request as part of normal discovery under Federal Rule of Civil

21 Procedure 26.

22 DOCUMENT REQUEST NO. 7:

23          Documents sufficient to show the design, development, and implementation in Android 4.0

24 Ice Cream Sandwich of the Slide to Unlock, Text Correction, Unified Search, and/or Special Text

25 Detection software, features, or functionality.

26 RESPONSE TO DOCUMENT REQUEST NO. 7:

27          Google incorporates by reference its General Objections as though fully set forth herein.

28 Google further objects to this Request on the grounds that the term “Android 4.0 Ice Cream

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 1 Sandwich” is vague and ambiguous. Google further objects to this Request on the grounds that

 2 the term “Slide to Unlock, Text Correction, Unified Search, and/or Special Text Detection

 3 software, features, or functionality” is vague and ambiguous. Google further objects to this

 4 Request on the grounds that it seeks information that is neither relevant to any claims or defenses

 5 in this litigation nor reasonably calculated to lead to the discovery of admissible evidence. Google

 6 further objects to this Request on the grounds that it is overly broad, unduly burdensome,

 7 oppressive, and duplicative. Google further objects to this Request on the grounds that it seeks

 8 information not within Google’s possession, custody or control. Google further objects to this

 9 Request on the grounds that it seeks information protected from disclosure by the attorney-client

10 privilege, the attorney work product doctrine, or any other applicable privilege or immunity,

11 including but not limited to the common interest or joint defense privileges. Google further

12 objects to this Request on the grounds that it calls for legal conclusions. Google further objects to

13 this Request on the grounds that it seeks information already in Apple’s possession or available to

14 Apple from some other source that is more convenient, less burdensome or less expensive,

15 including information available to Apple from Samsung or from public sources.

16          Subject to and without waiving its general and specific objections, Google will produce

17 documents responsive to this Request as part of normal discovery under Federal Rule of Civil

18 Procedure 26.
19 DOCUMENT REQUEST NO. 8:

20          Documents sufficient to show the design of, development of, implementation of and/or

21 decision to implement in any version of Android the Slide to Unlock, Text Correction, Unified

22 Search, and/or Special Text Detection software, features, or functionality.

23 RESPONSE TO DOCUMENT REQUEST NO. 8:

24          Google incorporates by reference its General Objections as though fully set forth herein.

25 Google further objects to this Request on the grounds that the term “Slide to Unlock, Text

26 Correction, Unified Search, and/or Special Text Detection software, features, or functionality” is

27 vague and ambiguous. Google further objects to this Request on the grounds that it seeks

28 information that is neither relevant to any claims or defenses in this litigation nor reasonably

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 1 calculated to lead to the discovery of admissible evidence. Google further objects to this Request

 2 on the grounds that it is overly broad, unduly burdensome, oppressive, and duplicative. Google

 3 further objects to this Request on the grounds that it seeks information not within Google’s

 4 possession, custody or control. Google further objects to this Request on the grounds that it seeks

 5 information protected from disclosure by the attorney-client privilege, the attorney work product

 6 doctrine, or any other applicable privilege or immunity, including but not limited to the common

 7 interest or joint defense privileges. Google further objects to this Request on the grounds that it

 8 calls for legal conclusions. Google further objects to this Request on the grounds that it seeks

 9 information already in Apple’s possession or available to Apple from some other source that is

10 more convenient, less burdensome or less expensive, including information available to Apple

11 from Samsung or from public sources.

12          Subject to and without waiving its general and specific objections, Google will produce

13 documents responsive to this Request as part of normal discovery under Federal Rule of Civil

14 Procedure 26.

15 DOCUMENT REQUEST NO. 9:

16          Documents relating to any efforts or attempts, including the analysis and decision-making

17 to engage in such efforts or attempts, to design around or otherwise imitate without directly

18 copying Apple’s products that incorporate any version of iOS operating system as well as the
19 Slide to Unlock, Text Correction, Unified Search, and/or Special Text Detection software,

20 features, or functionality.

21 RESPONSE TO DOCUMENT REQUEST NO. 9:

22          Google incorporates by reference its General Objections as though fully set forth herein.

23 Google further objects to this Request on the grounds that the term “any efforts or attempts,

24 including the analysis and decision-making to engage in such efforts or attempts” is vague and

25 ambiguous. Google further objects to this Request on the grounds that the term “design around or

26 otherwise imitate without directly copying” is vague and ambiguous. Google further objects to

27 this Request on the grounds that the term “Slide to Unlock, Text Correction, Unified Search,

28 and/or Special Text Detection software, features, or functionality” is vague and ambiguous.

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 1 Google further objects to this Request on the grounds that it seeks information that is neither

 2 relevant to any claims or defenses in this litigation nor reasonably calculated to lead to the

 3 discovery of admissible evidence. Google further objects to this Request on the grounds that it is

 4 overly broad, unduly burdensome, oppressive, and duplicative. Google further objects to this

 5 Request on the grounds that it seeks information not within Google’s possession, custody or

 6 control. Google further objects to this Request on the grounds that it seeks information protected

 7 from disclosure by the attorney-client privilege, the attorney work product doctrine, or any other

 8 applicable privilege or immunity, including but not limited to the common interest or joint defense

 9 privileges. Google further objects to this Request on the grounds that it calls for legal conclusions.

10 Google further objects to this Request on the grounds that it seeks information already in Apple’s

11 possession or available to Apple from some other source that is more convenient, less burdensome

12 or less expensive, including information available to Apple from Samsung or from public sources.

13 DOCUMENT REQUEST NO. 10:

14          Documents relating to any analysis, review, consideration, evaluation, inspection, tear-

15 down report, or copying of any Apple product, including but not limited to Apple’s products that

16 incorporate any version of the iOS operating system as well as the Slide to Unlock, Text

17 Correction, Unified Search, and Special Text Detection software, features or functionality.

18 RESPONSE TO DOCUMENT REQUEST NO. 10:
19          Google incorporates by reference its General Objections as though fully set forth herein.

20 Google further objects to this Request on the grounds that the term “any analysis, review,

21 consideration, evaluation, inspection, tear-down report, or copying” is vague and ambiguous.

22 Google further objects to this Request on the grounds that the term “Slide to Unlock, Text

23 Correction Unified Search, and Special Text Detection software, features, or functionality” is

24 vague and ambiguous. Google further objects to this Request on the grounds that it seeks

25 information that is neither relevant to any claims or defenses in this litigation nor reasonably

26 calculated to lead to the discovery of admissible evidence. Google further objects to this Request

27 on the grounds that it is overly broad, unduly burdensome, oppressive, and duplicative. Google

28 further objects to this Request on the grounds that it seeks information not within Google’s

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 1 possession, custody or control. Google further objects to this Request on the grounds that it seeks

 2 information protected from disclosure by the attorney-client privilege, the attorney work product

 3 doctrine, or any other applicable privilege or immunity, including but not limited to the common

 4 interest or joint defense privileges. Google further objects to this Request on the grounds that it

 5 calls for legal conclusions. Google further objects to this Request on the grounds that it seeks

 6 information already in Apple’s possession or available to Apple from some other source that is

 7 more convenient, less burdensome or less expensive, including information available to Apple

 8 from Samsung or from public sources.

 9 DOCUMENT REQUEST NO. 11:

10          All documents constituting, reflecting or otherwise relating to any analysis, review,

11 research, survey, consideration, or evaluation of the importance to consumers and consumer

12 purchasing decisions of Slide to Unlock, Text Correction, Unified Search, and/or Special Text

13 Detection on a phone or other mobile device.

14 RESPONSE TO DOCUMENT REQUEST NO. 11:

15          Google incorporates by reference its General Objections as though fully set forth herein.

16 Google further objects to this Request on the grounds that the term “constituting, reflecting or

17 otherwise relating to any analysis, review, research, survey, consideration, or evaluation” is vague

18 and ambiguous. Google further objects to this Request on the grounds that the term “the
19 importance to consumers and consumer purchasing decisions” is vague and ambiguous. Google

20 further objects to this Request on the grounds that the term “Slide to Unlock, Text Correction

21 Unified Search, and/or Special Text Detection” is vague and ambiguous. Google further objects to

22 the Request on the grounds that the term “on a phone or other mobile device” is vague and

23 ambiguous. Google further objects to this Request on the grounds that it seeks information that is

24 neither relevant to any claims or defenses in this investigation nor reasonably calculated to lead to

25 the discovery of admissible evidence. Google further objects to this Request on the grounds that it

26 is overly broad, unduly burdensome, oppressive, and duplicative. Google further objects to this

27 Request on the grounds that it seeks information not within Google’s possession, custody or

28 control. Google further objects to this Request on the grounds that it seeks information protected

                                                    -14-                       CASE NO. 12-CV-00630-LHK
     RESPONSES AND OBJECTIONS OF NON-PARTY GOOGLE INC. TO SUBPOENA TO PRODUCE DOCUMENTS FROM APPLE INC.
     Case 5:12-cv-00630-LHK Document 135-5 Filed 04/24/12 Page 16 of 19




 1 from disclosure by the attorney-client privilege, the attorney work product doctrine, or any other

 2 applicable privilege or immunity, including but not limited to the common interest or joint defense

 3 privileges. Google further objects to this Request on the grounds that it calls for legal conclusions.

 4 Google further objects to this Request on the grounds that it seeks information already in Apple’s

 5 possession or available to Apple from some other source that is more convenient, less burdensome

 6 or less expensive, including information available to Apple from Samsung or from public sources.

 7           Subject to and without waiving its general and specific objections, Google is available to

 8 meet and confer with Apple regarding an appropriate scope of production in response to this

 9 Request.

10 DOCUMENT REQUEST NO. 12:

11           All documents constituting, reflecting, or otherwise relating to any analysis, review,

12 research, survey, consideration or evaluation of the importance to consumers and consumer

13 purchasing decisions of the ability or capability to search the Internet on a phone or other mobile

14 device.

15 RESPONSE TO DOCUMENT REQUEST NO. 12:

16           Google incorporates by reference its General Objections as though fully set forth herein.

17 Google further objects to this Request on the grounds that the term “constituting, reflecting, or

18 otherwise relating to any analysis, review, research, survey, consideration or evaluation” is vague
19 and ambiguous. Google further objects to this Request on the grounds that the term “the

20 importance to consumers and consumer purchasing decisions” is vague and ambiguous. Google

21 further objects to this Request on the grounds that the term “the ability or capability to search the

22 Internet on a phone or other mobile device” is vague and ambiguous. Google further objects to

23 this Request on the grounds that it seeks information that is neither relevant to any claims or

24 defenses in this investigation nor reasonably calculated to lead to the discovery of admissible

25 evidence. Google further objects to this Request on the grounds that it is overly broad, unduly

26 burdensome, oppressive, and duplicative. Google further objects to this Request on the grounds

27 that it seeks information not within Google’s possession, custody or control. Google further

28 objects to this Request on the grounds that it seeks information protected from disclosure by the

                                                     -15-                      CASE NO. 12-CV-00630-LHK
     RESPONSES AND OBJECTIONS OF NON-PARTY GOOGLE INC. TO SUBPOENA TO PRODUCE DOCUMENTS FROM APPLE INC.
     Case 5:12-cv-00630-LHK Document 135-5 Filed 04/24/12 Page 17 of 19




 1 attorney-client privilege, the attorney work product doctrine, or any other applicable privilege or

 2 immunity, including but not limited to the common interest or joint defense privileges. Google

 3 further objects to this Request on the grounds that it calls for legal conclusions. Google further

 4 objects to this Request on the grounds that it seeks information already in Apple’s possession or

 5 available to Apple from some other source that is more convenient, less burdensome or less

 6 expensive, including information available to Apple from Samsung or from public sources.

 7          Subject to and without waiving its general and specific objections, Google is available to

 8 meet and confer with Apple regarding an appropriate scope of production in response to this

 9 Request.

10

11 DATED: April 16, 2012                      QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
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13
                                               By /s/ Matthew S. Warren
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                                                  Attorneys for Non-Party Google Inc.
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                                                    -16-                       CASE NO. 12-CV-00630-LHK
     RESPONSES AND OBJECTIONS OF NON-PARTY GOOGLE INC. TO SUBPOENA TO PRODUCE DOCUMENTS FROM APPLE INC.
     Case 5:12-cv-00630-LHK Document 135-5 Filed 04/24/12 Page 18 of 19




 1                                        PROOF OF SERVICE

          I am employed in the District of Columbia. I am over the age of eighteen years and not a
   party to this action; my business address is Quinn Emanuel Urquhart & Sullivan LLP, 1299
  Pennsylvania Avenue NW, Suite 825, Washington, DC 20004.

           On April 16, 2012, I served true copies of the following document described as:

           RESPONSES AND OBJECTIONS OF NON-PARTY GOOGLE INC. TO
            SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION OR OBJECTS
           FROM PLAINTIFF APPLE INC.

           RESPONSES AND OBJECTIONS OF NON-PARTY GOOGLE INC. TO
            SUBPOENA TO TESTIFY AT A DEPOSITION FROM PLAINTIFF APPLE
           INC.

  on the following parties in this action:

          See attached service list

 BY MAIL: I am “readily familiar” with the practices of Quinn Emanuel Urquhart &
   Sullivan, LLP for collecting and processing correspondence for mailing with the United States
 Postal Service. Under that practice, it would be deposited with the United States Postal Service
   that same day in the ordinary course of business. At my direction, the foregoing was enclosed in
 sealed envelope(s) addressed as below, and such envelope(s) were placed for collection and
   mailing with postage thereon fully prepaid at San Francisco, California, on that same day
 following ordinary business practices.

 BY ELECTRONIC MAIL TRANSMISSION: By electronic mail transmission from
   heathermartin@quinnemanuel.com on April 16, 2012, by transmitting a PDF format copy of such
 document(s) to each such person at the e mail address listed below their address(es). The
   document(s) was/were transmitted by electronic transmission and such transmission was reported
 as complete and without error.

           I declare that I am employed in the office of a member of the bar of this Court at whose
     direction the service was made.

            Executed on April 16, 2012, at Washington, DC.


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                                                      /s Heather H. Martin
                                                    Heather H. Martin
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     Case 5:12-cv-00630-LHK Document 135-5 Filed 04/24/12 Page 19 of 19




 1                                           SERVICE LIST
 2

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16                                                    Electronics America, Inc. and Samsung
                                                      Telecommunications America, LLC
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